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Nathan Larson                                                                 \\}\ !■•      «•'* '-• - _V_-':     '
9270 Prospect Avenue                                                           ^
Catlett,VA20119                                                               !i 1|         ^10 2010
August 9,2010                                                                 J W

Barry Raymond                                                             .
Senior United States Probation Officer                     •                                 ^'-^l^L
10S00 Battlefield Parkway, Suite 100
Manassas.VA 20109




Dear Mr. Raymond:

I have decided not to comply with my conditions of supervised release anymore. The United States
Government has no rightful claim to jurisdiction over me, and I am not morally bound to obey any of
its laws or officers. In throwing off the federal yoke, I am exercising the right of individual sovereignty
to which I am entitled under natural law.

From now on, I will violate federal, state and local laws at will, as long as such violations do not
infringe the rights of others. For example, I will possess and use whatever controlled substances I want
to possess and use. There is no natural law against doing so; such "offenses" are merely victimless
crimes arbitrarily established by the government I refuse to submit to any more drug tests, because
they infringe my privacy rights.

For now on, I will possess firearms, ammunition, destructive devices; and other dangerous weapons
whenever I want to. I have a right to protect myself from aggressors, including those who work for the
government. If you happen to hear the distinctive sound of the gunfire of a Solothum S-18/100 20 mm
Anti-Tank Cannon emanating from my backyard, as cardboard cutouts of statist federal politicians,
federal judges, federal prosecutors, and federal agents become riddled with large, ragged bullet holes,
please know that there is nothing amiss; it is just me engaging in target practice.

From now on, I will leave the judicial district whenever I want to. Arbitrary borders drawn'by
governments have no legitimacy to me. I will come and go as I please.


I will not submit any more probation reports, as they are a pointless waste of time. I will not answer
any inquiries or follow any instructions of probation officers. I will not notify any probation officer
when I change residence or employment, since that is none of the court's business.

I will frequent places where controlled substances are illegally sold, used, distributed, and administered
whenever I want to frequent those places. I will associate with persons engaged in what the government
deems criminal activity and with persons convicted of felonies whenever I want to. I will refrain from
helping anyone infringe others' rights, but I won't submit to the government's arbitrary designation of
certain people as off-limits.


I will not permit probation officers to visit, or permit confiscation of what such officers may deem
"contraband." Nor will I notify a probation officer if I am arrested or questioned by a law-enforcement
officer. Nor will I provide access to any requested financial information. 1 have no moral obligation to
disclose such matters to the court.
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I will not participate in a program of mental health treatment. There is no point; it is a complete waste
of taxpayer money. I do not have any mental illnesses, so there is nothing for a counselor to treat. I
certainly am not going to submit to any involuntary medication, since that constitutes an unwanted
intrusion into my body, over which I have sovereign ownership rights.

Lastly, I will use email whenever I want to use email, and without obeying any restrictions or
conditions imposed by any probation officer. I have a right to communicate without allowing
government officials to be privy to such communications. If there are any other conditions of
supervised release I have not mentioned, please know that I have as little intention of obeying those as I
do of obeying the ones I have mentioned.


Do not attempt to enforce the judgment of the court. I do not recognize the legitimacy of that judgment.
I am also morally entitled to defend myself if anyone tries to lay hands on me, since I have not
infringed anyone's rights. I was convicted of making a threat against the President of the United States.
It was a threat I was entitled to make, since defense of others is morally permissible when a
government official, or any other criminal, is committing aggression against them through the
henchmen under his command. The federal government lacks any rightful authority to arrest people for
violating tax laws, drug laws, etc. to which they did not consent to being bound. Federal agents arc
committing aggression at any given moment at the behest of the President; therefore, at any given
moment, anyone has a right to kill, or to threaten to kill, the President.


In view of the overwhelming force that the government can muster for its efforts to infringe the rights
of the innocent, I might have decided that it was in my interests to obey the conditions of release. But
the court and its officers have too much power. Supervised release is a middle ground between freedom
and incarceration, and what is to prevent the court, and/or you, from making it almost as bad as
imprisonment? Only your goodwill But I don't trust in goodwill, when the person has no incentive to
display any such tendency.

You can make it intolerable for me, if you want to; and why wouldn't you? Those who are attracted to
government work tend to be those who are willing to put ethics aside and pursue other priorities. And
there are no penalties for a government official who harms the innocent in a way that is authorized by
law. Even if you happen to be a reasonably decent person, who is to say that you will be my probation
officer for the entire three years? In light of this, I may as well rebel completely, and go back to prison.
That way, I stand a chance of leaving the criminal justice system in 2012 rather than in 2013, or
beyond.


Sincerely,




Nathan Larson




                                                                          Leonie M. Brinkema
                                                                      United States District Judge
